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     UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

Angelo B. Arnold, et al.,                     :       Case No. 3:13-cv-76

       Plaintiffs,                            :       (Judge Thomas M. Rose)

v.                                            :

Department of Veterans Affairs,               :

      Defendant.                    :
______________________________________________________________________________

       STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(ii)
______________________________________________________________________________

        Now come the parties, by and through counsel, and, pursuant to Fed. R. Civ. P. 41(a)(ii),
do hereby stipulate and give notice of the dismissal of this action. The parties further agree that
such dismissal is without prejudice to the re-filing of a new action. Further, Defendant waives
any claim to costs upon a re-filing pursuant to Fed. R. Civ. P. 41(d).

                                                             Respectfully submitted,

                                                             MANNING LAW FIRM, LLC

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                                                             ______________________________
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                                                             Per telephone authority 11/19/13
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                                                             Angelo B. Arnold, Plaintiff

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                                                             Zandra L. Arnold, Plaintiff




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                                                CARTER M. STEWART
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